  Case 8:16-cv-01477-CEH-CPT Document 211-13 Filed 06/18/18 Page 1 of 1 PageID 7364



    Jorge Labarga

    From:                           Brian Wanca
    Sent:                           Tuesday, September 29, 2015 3:33PM
    To:                             David Oppenheim
    Subject:                        RE: Bucs


    I would push the fess to 30%



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    From: David Oppenheim
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